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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

PRASHANT KALAVAR and                           )
SHWETA KALAVAR,                                )
                                               )
      Plaintiff,                               )
                                               )      CIVIL ACTION FILE NO.
vs.                                            )      ______________________
                                               )
SAFECO INSURANCE COMPANY                       )
OF INDIANA                                     )
                                               )
      Defendant.                               )

      DEFENDANT SAFECO INSURANCE COMPANY OF INDIANA’S
           CERTIFICATE OF INTERESTED PERSONS AND
             CORPORATE DISCLOSURE STATEMENT

      Comes now, Defendant Safeco Insurance Company of Indiana, by and

through its counsel of record, and files this, its Certificate of Interested Persons and

Corporate Disclosure Statement pursuant to Fed. R. Civ. P. 7.1 and LR 3.3, NDGa.

as follows:

      (1)     A complete list of the parties and the corporate disclosure statement

required by Fed. R. Civ. P. 7.1:

      Plaintiffs:

      Prashant Kalavar

      Shweta Kalavar

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Defendant:

The undersigned counsel of record for Safeco Insurance Company of Indiana

certifies that the following is a complete list of any parent corporation and any

publicly held corporation that owns 10% or more of the stock of the

Defendant:

      Safeco Insurance Company of Indiana

      • Liberty Mutual Holding Company Inc. owns 100% of the stock of

          LMHC Massachusetts Holdings Inc.

      • LMHC Massachusetts Holdings Inc. owns 100% of the stock of

          Liberty Mutual Group Inc.

      • Liberty Mutual Group Inc. owns 100% of the stock of Liberty

          Mutual Insurance Company.

      • Liberty Mutual Insurance Company owns 100% of the stock of

          Liberty Insurance Holdings, Inc.

      • Liberty Insurance Holdings, Inc. owns 100% of the stock of

          Liberty Mutual Agency Corporation.

      • Liberty Mutual Agency Corporation owns 100% of the stock of

          Safeco Corporation.

      • Safeco Corporation owns 100% of the stock of Safeco Insurance

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                Company of America.

             • Safeco Insurance Company of America owns 100% of the stock of

                Safeco Insurance Company of Oregon.

      (2)    The undersigned further certifies that the following is a complete list of

all other persons, associations, firms, partnerships, or corporations having either a

financial interest in or other interest which could be substantially affected by the

outcome of this particular case:

      Carson L. Jeffries
      Carter Jeffries LLC
      47 Perimeter Center East, Suite 530
      Atlanta, GA 30346
      Attorney for Plaintiffs

       (3)   The undersigned further certifies that the following is a complete list of

all persons serving as attorneys for the parties in this proceeding:

      (a)    Carson L. Jeffries
             Carter Jeffries LLC
             47 Perimeter Center East, Suite 530
             Atlanta, GA 30346
             Attorney for Plaintiffs

      (b)    Hilary W. Hunter
             Isenberg & Hewitt, PC
             600 Embassy Row, Suite 150
             Atlanta, Georgia 30328
             Attorney for Defendant
             Safeco Insurance Company of Indiana


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Respectfully submitted this 25th day of July 23.



                                ISENBERG & HEWITT, P.C.

                                /s/ Hilary W. Hunter
                                Hilary W. Hunter
                                Georgia Bar No. 742696
                                600 Embassy Row, Suite 150
                                Atlanta, Georgia 30328
                                770-351-4400 - T
                                Attorney for Defendant
                                Safeco Insurance Company of Indiana




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                      LOCAL RULE 7.1 CERTIFICATE

      The undersigned counsel hereby certifies that this pleading was prepared with

one of the font and point selections approved by the Court in L.R. 5.1.C.

Specifically, Times New Roman was used in 14 point.

                                      /s/ Hilary W. Hunter
                                      Hilary W. Hunter
                                      Georgia Bar No. 742696
                                      Isenberg & Hewitt, P.C.
                                      600 Embassy Row, Suite 150
                                      Atlanta, Georgia 30328
                                      770-351-4400 - T
                                      Attorney for Defendant




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

PRASHANT KALAVAR and                           )
SHWETA KALAVAR,                                )
                                               )
      Plaintiff,                               )
                                               )     CIVIL ACTION FILE NO.
vs.                                            )     ______________________
                                               )
SAFECO INSURANCE COMPANY                       )
OF INDIANA                                     )
                                               )
      Defendant.                               )

                          CERTIFICATE OF SERVICE

      I hereby certify that on this day, I electronically filed DEFENDANT

SAFECO INSURANCE COMPANY OF INDIANA’S CERTIFICATE OF

INTERESTED PERSONS AND CORPORATE DISCLOSURE STATEMENT

with the Clerk of Court via the CM/ECF system, which will automatically send e-

mail notification of such filing to counsel of record to this matter as follows:

                                Carson Jeffries, Esq.
                                 Carter Jeffries LLC
                              cjeffries@moldfirm.com

      This 25th day of July 2023.

                                               ISENBERG & HEWITT, P.C.

                                               /s/ Hilary W. Hunter
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                                     Hilary W. Hunter
                                     Georgia Bar No. 742696
                                     600 Embassy Row, Suite 150
                                     Atlanta, GA 30328
                                     (770) 351-4400 (O)
                                     Attorney for Defendant




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